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                          UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION
                                      :
                                      :
IN RE: ETHICON, INC.,                 :    MDL: 2327
PELVIC REPAIR SYSTEMS                 :
PRODUCTS LIABILITY LITIGATION         :
                                      :
This Document Relates to All Cases    :

                                            ORDER

       Pending is Andrew J. Robinson’s Motion to Withdraw as Counsel, filed October 11,

2013. Mr. Robinson seeks an order granting leave to withdraw from all member actions in

which he has appeared in MDL 2327. It is ORDERED that the Motion is GRANTED. The

Clerk is instructed to terminate Mr. Robinson where he appears as counsel for any party in this

MDL and in any member case in this MDL.

       The Court DIRECTS the Clerk to file a copy of this order in 2:12-md-2327 and in each

member case in which Mr. Robinson has appeared.

       Entered: ________________________




                                                    ______________________________
                                                    JOSEPH R. GOODWIN
                                                    UNITED STATES DISTRICT JUDGE




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